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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

                                                     Docket No. 1:18-cv-11499-MLW
 ROBENSON JEAN-PIERRE AND JEAN
 METELUS, on behalf of themselves and all            COLLECTIVE AND CLASS ACTION
 others similarly situated,
                                                     NOTICE OF FILING CONSENTS TO
                         Plaintiffs,                 JOIN COLLECTIVE ACTION

 v.

 J&L CABLE TV SERVICES, INC.,

                         Defendant.


             NOTICE OF FILING CONSENTS TO JOIN COLLECTIVE ACTION

Plaintiffs Robenson Jean-Pierre and Jean Metelus, individually and on behalf of all persons

similarly situated, hereby files the following Opt-In Consent Forms, submitted herewith as Exhibit

1, pursuant to the Fair Labor Standards, Act, 29 U.S.C. §§ 201, et seq. CONSENTS TO JOIN

COLLECTIVE ACTION:

      112.       Eric Clinton

      113.       Jacques Phirmerlus

      114.       Edvil Brumer

      115.       Ferdinand Torres

      116.       Joseph Renal Satine

      117.       Arlbrey C. Owens

      118.       Pierre Borgelin

      119.       Mark Brown
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Dated: December 30, 2019                         Respectfully submitted,

                                          /s/ Shoshana Savett
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                                          Shoshana Savett
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                                          Attorneys for Plaintiffs, the Collective and
                                          Putative Class




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                                CERTIFICATE OF SERVICE

       I, Shoshana Savett, hereby certify that on December 30, 2019, I filed the foregoing via the
Court’s CM/ECF system, which will automatically send a notice of filing to counsel of record.



                                                    /s/ Shoshana Savett
                                                    Shoshana Savett




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